104 F.3d 358
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Detra HUDSON-GARDNER, Plaintiff-Appellant,v.THE DEPARTMENT OF HIGHWAYS AND PUBLIC TRANSPORTATION;Orangeburg Calhoun Correctional Facility;  B.J.Hill;  A.L. Stack;  Thomas I. Haigler,Defendants-Appellees,andOrangeburg Calhoun Regional Hospital, Defendant.
    No. 96-1768.
    United States Court of Appeals, Fourth Circuit.
    Dec. 23, 1996.Submitted Dec. 12, 1996.Decided Dec. 23, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Patrick Michael Duffy, District Judge.  (CA-94-641-3-23)
      Detra Hudson-Gardner, Appellant Pro Se.  Isaac McDuffie Stone III, LEWIS, REEVES &amp; STONE, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before MURNAGHAN, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's judgment, pursuant to a jury verdict, that she recover nothing in her 42 U.S.C. § 1983 (1994) action.  The record does not contain a transcript of the trial.  Appellant has the burden of including in the record on appeal a transcript of all parts of the proceedings material to the issues raised on appeal.  Fed. R.App. P. 10(b)(2);  4th Cir.  Local R. 10(c).  Appellants proceeding on appeal in forma pauperis are entitled to transcripts at government expense only in certain circumstances.  28 U.S.C. § 753(f) (1994).  By failing to produce a transcript or to qualify for the production of a transcript at government expense, Appellant has waived review of the issues on appeal which depend upon the transcript to show error.  Powell v. Estelle, 959 F.2d 22, 26 (5th Cir.), cert. denied, 506 U.S. 1025 (1992);  Keller v. Prince George's Co., 827 F.2d 952, 954 n. 1 (4th Cir.1987).  We have reviewed the record before the court and find no reversible error.  We therefore affirm the district court's order entering judgment for Appellees.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    